UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case 2:15-ml-02668-PSG-SK Document 1386 Filed 06/05/24 Page 1ofi1 Page ID #:52369
TRANSCRIPT ORDER FORM

Please use one form per court reporter per case, and contact court reporter
directly immediately after e-filing form. (Additional instructions on next page.)

COURT USE ONLY
DUE DATE:

la. Contact Person
for this Order

Ben Sherman

2a. Contact Phone
Number

(804) 239-2323

3a. Contact E-mail
Address

bsherman@wilkinsonstekloff.com

1b. Attorney Name
(if different)

Jenna H. Pavelec

2b. Attorney Phone
Number

4, MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)

(202) 847-4048

3b. Attorney E-mail
Address

jpavelec@wilkinsonstekloff.com

Wilkinson Stekloff LLP
2001 M Street NW, 10th Floor
Washington, DC 20036

5. Name & Role of
Party Represented

Consol Defendants

6. Case Name

In Re National Football League's "Sunday Ticket" Antitrust Litigation

7a. District Court
Case Number

2:15-ml-02668-PSG-SKx

7b. Appeals Court
Case Number

8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
T] DIGITALLY RECORDED

TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: |Myra Ponce

9. THIS TRANSCRIPT ORDER IS FOR:

[_] Appeal [x] Non-Appeal

[-] Criminal [k] Civil

[|] CJA [-] USA [7] FPD [_] In forma pauperis (Court order for transcripts must be attached)

10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):

You MUST check the docket to see if the transcript has already been filed, and if so,

provide the "Release of Transcript Restriction” date in column c, below.

a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court

order releasing transcript to the ordering party must be attached here or emailed to
transcripts_cacd@cacd.uscourts.gov.)

b. SELECT FORMAT(S)

(CM/ECF access included
with purchase of transcript.)

c. RELEASE OF TRANS. | g.
RESTRICTION DATE

DELIVERY TYPE
30-day, 14-day, 7-day, 3-day, Daily, Hourly

PROCEEDING TYPE / PORTION

HEARING || Minute Order JUDGE PDE TEXT / CONDEN- CM/ECF  worp (Provide release date o, (Check with court reporter
DATE _Docket# If requesting less than full hearing, specify portion (e.g., witness or time). 1) ASCH PAPER SED ACCESS wnpxtnG efiled transcript, or check to| before choosing any delivery time
(if available) (name) CJA orders: indicate if openings, closings, voir dire, or instructions requested] (email) (email) (email) (web) certify none yet on file. ) sooner than "Ordinary-30.")
06/05/2024 Gutierrez [Yor Dire © O OO OO OO OC HOURLY (2 hrs)

OO

O

O OO O

O_O

O

OO oO

O_O

O

OO O

O_O

O

OO O

OO |O JO |@

11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be

requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).

12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
payment under the Criminal Justice Act.

G-120 (06/18)

Date

June 5, 2024

Signature

/s/ Jenna H. Pavelec

